Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 1 of 14




                                                    2223
                                                    xxxxx
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 2 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 3 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 4 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 5 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 6 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 7 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 8 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 9 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 10 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 11 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 12 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 13 of 14
Case 1:17-cv-02223-RC Document 24 Filed 12/22/17 Page 14 of 14
